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                                              September 19, 2022
VIA ECF
Hon. Analisa Torres
United States District Judge
Southern District of New York

Re:    SEC v. Ripple Labs, Inc. et al., No. 20-cv-10832 (AT) (SN) (S.D.N.Y.)

Dear Judge Torres:
The SEC respectfully submits this response to the motion by the Chamber of Digital Commerce for
leave to file an amicus curiae brief (D.E. 632, the “Motion”). The SEC takes no position on the
Motion, but respectfully requests that, in the event the Motion is granted, the SEC be able to
respond to the Motion as part of its brief in opposition to Defendants’ motion for summary
judgment (D.E. 621) on October 18, 2022. The SEC may seek further relief from the Court
(including additional time for its response and/or additional pages for its October 18 opposition
brief) in the event additional amicus curiae briefs are allowed.

                                                      Respectfully submitted,

                                                      /s/ Ladan F. Stewart

                                                      Ladan F. Stewart

cc: Counsel for All Defendants (via ECF)
